Case 18-28534-ABA        Doc 10   Filed 10/18/18 Entered 10/18/18 15:32:11         Desc Main
                                  Document     Page 1 of 3




UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
RAS Citron, LLC
Authorized Agent for Secured Creditor
130 Clinton Road, Lobby B, Suite 202
Fairfield, NJ 07004
Telephone: 973-575-0707
Facsimile: 973-404-8886

Harold N. Kaplan HK0226
                                                        Case No.:   18-28534-ABA
In Re:
                                                        Chapter:    7
Michael T. Heuser, Sr. and
Rhonda C. Heuser                                        Hearing Date: November 13, 2018

                                                        Judge:      Andrew B. Altenburg Jr.
         Debtors.



              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

                                HEARING DATE AND TIME:
                               November 13, 2018 at 10:00 A.M.

                    ORAL ARGUMENT IS REQUESTED IN THE EVENT
                           OPPOSITION IS TIMELY FILED
 TO:

D ebtors-                 D ebtor’s A ttorney-      Tru stee-              U.S .Tru stee-
Michael T. Heuser, Sr.    Bruno Bellucci, III       Thomas J Subranni      U.S. Trustee
1059 Ocean Heights        BellucciLaw, PC           Subranni Zauber        US Dept of Justice
Ave. # 1030               1201 New Road             1624 Pacific Avenue    Office of the US
Egg Harbor Township,      Suite 138                 Atlantic City, NJ      Trustee
NJ 08234                  Linwood, NJ 08221         08401                  One Newark Center
                                                                           Ste 2100
Rhonda C. Heuser                                                           Newark, NJ 07102
1059 Ocean Heights
Ave. # 1030
Egg Harbor Township,
NJ 08234



                                                                                 18-28534-ABA
                                                                                      18-132422
                                                                                Notice of Motion
Case 18-28534-ABA          Doc 10     Filed 10/18/18 Entered 10/18/18 15:32:11                 Desc Main
                                      Document     Page 2 of 3




         PLEASE TAKE NOTICE that on November 13, 2018 at 10:00 A.M., or as soon thereafter

 as counsel may be heard, RAS Citron, LLC, attorneys for Madison Revolving Trust 2017, the

 within creditor ("Creditor"), shall move before the Honorable Andrew B. Altenburg Jr., United

 States Bankruptcy Judge, at Mitchell H. Cohen U.S. Courthouse, 400 Cooper Street, 4th Floor,

 Camden, N.J. 08101, Courtroom 4B, for an Order pursuant to 11 U.S.C. §362(d)(1) granting such

 Creditor relief from automatic stay or, for costs and disbursements of this action, and for such

 other and further relief as to the Court may seem just and proper.

         PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned shall

 rely on the accompanying Certification in Support of Motion for Relief. A proposed form of Order

 is also being submitted. A Memorandum of Law has not been submitted because the issues raised

 by the Motion are not extraordinary or unusual necessitating the filing of legal briefs.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

 Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii) be

 filed with the CLERK, UNITED STATES BANKRUPTCY COURT, District of New Jersey,

 PO Box 2067, Camden, NJ 08101, and simultaneously served on Secured Creditor's counsel,

 RAS Citron, LLC, 130 Clinton Road, Lobby B, Suite 202, Fairfield, NJ 07004, so as to be

 received no later than seven (7) days before the return date set forth herein.

         PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

 the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief

 requested may be granted without a hearing.




                                                                                              18-28534-ABA
                                                                                                   18-132422
                                                                                             Notice of Motion
Case 18-28534-ABA       Doc 10     Filed 10/18/18 Entered 10/18/18 15:32:11               Desc Main
                                   Document     Page 3 of 3




        PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in

 accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.

  DATED: 10/18/2018
                                                   RAS Citron, LLC
                                                   130 Clinton Road, Lobby B, Suite 202
                                                   Fairfield, NJ 07004
                                                   Telephone: 973-575-0707
                                                   Facsimile: 973-404-8886
                                                   By: /s/ Harold N. Kaplan_____
                                                   Harold N. Kaplan, Esquire
                                                   Bar ID: HK-0226
                                                   Email: hkaplan@rasnj.com




                                                                                       18-28534-ABA
                                                                                            18-132422
                                                                                      Notice of Motion
